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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    LISA PLAZA,

                           Plaintiff,
                                                                   CIVIL ACTION
          v.                                                       NO. 18-659

    REBECCA RHYNHART,

                           Defendant.


                                              ORDER

        AND NOW, this 29th day of July 2020, it is ORDERED that the Clerk of Court shall

close this case for statistical purposes.1



                                                       BY THE COURT:



                                                       /s/ Joel H. Slomsky
                                                       JOEL H. SLOMSKY, J.




1
     On April 13, 2018, the Court entered an Order (Doc. No. 5), consolidating this case with Civil
     Action Number 18-279 and Civil Action Number 18-658. On August 21, 2019, the Court
     issued an Order in Civil Action Number 18-279 granting the Defendant’s Motion for Summary
     Judgment and closing the case for statistical purposes. (See Case No. 18-cv-279, Doc. No.
     26.) Despite the consolidation of the actions, however, the above-captioned case was not also
     closed. Accordingly, this Order will direct the Clerk of Court to close this case for statistical
     purposes.
